Jefferson Parish Forensic Center
2018 Sth Street
Harvey, LA 70088
(504) 365-9100 » (504) 365-173] Fax

Accredited by the

Gerry A. Cvitanovich, M.D. National Association of
Coroner Medical Examiners

Patient Robinson, Keeven Case: 245-18
Address: 3117 Audubon St. DOB: 06/16/1995
New Orleans, LA 70125 Sex: Male

Age: 22 years

Date of Death: On 0540/2618

Time of Death: Approximately 11:15

Date of Exam: 05/12/2018

Time of Exam: O7:00

Gounty: Jefferson

Tag Number: G099582/Robinsan, Keeven

Pathologist: Y. Van Vo. M.D.

Police Agency: Jefierson Parish Sheriff's Ofice

Authorized By: Gerry A. Cvitanavich, M.D... Coroner Jeffersan Parish

Persons in Atlendance: Autopsy Assistant Dwana Bailey and Photographer Cory Rociovich. Jefferson Parish
Coroner's Office: Or. Gerry Cvitanovich and Dr. Dana Troxclair, Jeflersan Parish
Coroner's Office: Jean Lincoln and Rodney Naumann, Jefarson Parish Sherif’s Office

Forensic Examination Report

FINDINGS

|. Compressional asphyxta
A. Desedent invalved in altercation with law enforcement on 6/10/2018
. Bilateral scleral hemorrhages
G. Bdateral coniunctival pelechiae
Hemorrhage af the satt tissue of the anterior neck
E. Traumatic separation of the hyoid bone and thyroid cartilage

oc

ll. Blunt force injuries
A. Head and neck
i. Abrasion of the tarehead
i. Bilateral psriorbital contusions
ii, Gontusions af the face
iy. Subscalpular hernatomas
v. Hemerrhage of the soft tissue af the left side af the posterior neck

vi Laceraled left vertebral ariery
vil Separation af the tst and 2nd cervical vertebrae
vill, Epidural hemorrhage overiying proximal cervical spinal cord

Jefferson Parish Forangic Center - Harvey, LA Tats

Patient: Robinson, Keeven Case: 245-18

B. Torso
i. Abrasions and contusions of the chest and abdomen
ii. Soft tissue hematomas of the chest, back, bilateral buttocks
C. Extremities
i, Abrasions and lacerations of the bilateral upper extremities
ii. Soft tissue hematomas of the bilateral upper and lower extremities
lil. Acute asthmatic exacerbation
A. History of asthma, medical records reviewed
IV. Toxicology results, see separate report
A. Blood drug screen:
i. cotinine and naloxone detected
ii. delta-9 carboxy THC: 18 ng/mL
iii. delta-9 THC: 4.3
iv. tramadol: 130 ng/mL
v. O-desmethyltramadol: 58 ng/mL
B. Blood alcohol screen: none detected

COMMENT: The decedent is a 22-year-old African-American male with a history of asthma who expired following
flight from law enforcement officers with subsequent physical altercation. Following a Coroner's Office case review
and consensus meeting conducted on 7/17/2018 at 0900 hours and attended by Dr. Dana Troxclair (Chief Forensic
Pathologist), Dr. Marianna Eserman (Forensic Pathologist), Dr. Ellen Connor (Forensic Pathologist), Anthony Buras
(Chief of Operations), and Mark Bone (Chief Death Investigator), it is determined that the cause of death is best
described as Compressional Asphyxia and Blunt Force Injuries. The manner of death is best classified as Homicide.
-END-

Jefferson Parish Forensic Center - Harvey, LA 20f 8
